          Case 2:12-cr-00169-TLN Document 512 Filed 01/13/16 Page 1 of 3


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 5   Attorney for Beshiba Cook

 6
 7                                   UNITED STATES DISTRICT COURT

 8                               EASTERN DISTRICT OF CALIFORNIA

 9
10   United States of America,                      No. 2:12-CR-169-MCE-11
11                      Plaintiff,
12           v.                                     STIPULATION REGARDING
                                                    EXCLUDABLE TIME PERIODS UNDER
13   Beshiba Cook,                                  SPEEDY TRIAL ACT; ORDER
14                      Defendant.
15
16                                           STIPULATION

17   1.      By previous order, this matter was set for status on January 14, 2016. On

18           December 22, 2015, the court on it’s own motion advanced the case to January 7,

19           2016.

20   2.      By this stipulation, defendant Beshiba Cook, by and through her undersigned

21           counsel, now moves to continue the status conference until March 24, 2016, at

22           9:00 a.m., and to exclude time between January 14, 2016 and March 24, 2016,

23           under Local Code T4.

24   3.      The parties agree and stipulate, and request that the Court find the following:

25           a)      The government has represented that the discovery associated with this

26                   case includes approximately 2590 pages of investigative reports and

27                   related documents and recordings of thousands of wiretap calls. All of this

28                   discovery has been produced directly to counsel.
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           Case 2:12-cr-00169-TLN Document 512 Filed 01/13/16 Page 2 of 3


 1            b)    Counsel for defendant desires additional time to consult with his client,
 2                  conduct investigation and research, review discovery, and to discuss
 3                  potential resolution with his client.
 4            c)    Counsel for defendant believes that failure to grant the above-requested
 5                  continuance would deny counsel the reasonable time necessary for
 6                  effective preparation, taking into account the exercise of due diligence.
 7            d)    The United States does not object to the continuance.
 8            e)    Based on the above-stated findings, the ends of justice served by
 9                  continuing the case as requested outweigh the interest of the public and
10                  the defendant in a trial within the original date prescribed by the Speedy
11                  Trial Act.
12            f)    For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §
13                  3161, et seq., within which trial must commence, the time period of
14                  January 14, 2016 and March 24, 2016, inclusive, is deemed excludable
15                  pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4] because it
16                  results from a continuance granted by the Court at defendant’s request on
17                  the basis of the Court’s finding that the ends of justice served by taking
18                  such action outweigh the best interest of the public and the defendant in a
19                  speedy trial.
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          Case 2:12-cr-00169-TLN Document 512 Filed 01/13/16 Page 3 of 3


 1   4.      Nothing in this stipulation and order shall preclude a finding that other provisions
 2           of the Speedy Trial Act dictate that additional time periods are excludable from the
 3           period within which a trial must commence.
 4
 5   IT IS SO STIPULATED.
 6   Dated: January 5, 2016                            /s/ Dustin D. Johnson
                                                       DUSTIN D. JOHNSON
 7                                                     Counsel for Defendant
                                                       Beshiba Cook
 8
 9   Dated: January 5, 2016                            BENJAMIN B. WAGNER
                                                       United States Attorney
10
11                                                     /s/ Jason Hitt (approved via email)
                                                       Jason Hitt
12                                                     Assistant United States Attorney
13
14
15                                              ORDER
16           IT IS SO ORDERED.
17   Dated: January 11, 2016
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